Case 8:20-cv-00048-JVS-JDE Document 744-26 Filed 05/25/22 Page 1 of 6 Page ID
                                 #:52072




                  EXHIBIT 24
  Case 8:20-cv-00048-JVS-JDE Document 744-26 Filed 05/25/22 Page 2 of 6 Page ID
                                   #:52073


                                                                              2040 Main St., 14th Fl., Irvine, CA 92614
                                                                                                      T (949) 760-0404
March 8, 2022
Hon. Andrew J. Guilford (Ret.)
Judicate West
1851 East First Street, Ste 1600
Santa Ana, CA 92705
Re:    Masimo Corp. et al v. Apple Inc., case no. 8:20-cv-00048-JVS-JDE (C.D. Cal.)
Judge Guilford:
      Masimo Corp. and Cercacor Laboratories, Inc. (jointly, “Masimo”) oppose Apple’s motion to
compel on Apple’s RFP Nos. 346–354 (the “Motion”).
       Apple places great emphasis on the Masimo “W1” Watch product, but Masimo already provided
extensive discovery and an inspection of a prototype of that product. Masimo also agreed to provide
additional discovery on the W1 from the parties’ ITC Investigation, which Apple already has because the
same lawyers represent Apple in both cases. Apple does not dispute that doing so would satisfy its
requests with respect to the W1. The parties merely dispute the mechanics of how that discovery will
formally be made available here. Masimo took the “category” approach that Judge Early suggested, which
the parties are currently litigating before Judge Early. To the extent Judge Early requires a different
approach, Masimo will adopt that approach or otherwise produce the discovery here.
       However, Apple’s RFPs are not limited to the W1. The RFPs also seek extensive discovery on
the development, marketing, sales, and long-term strategy for essentially every Masimo product or
prototype since Masimo’s founding 30 years ago. Days before filing its Motion, Apple purported to
narrow its RFPs. Apple has not clearly narrowed its requests, but appears to seek information on the W1
and any other product that competes or may compete in the future with the Apple Watch. Because Apple
is moving into the hospital space, Apple’s supposedly narrower requests still seek discovery on essentially
all Masimo products. Thus, the requests are still overbroad and seek information that is not relevant or
proportional to the needs of the case. The Special Master should deny Apple’s Motion.
                                          I. BACKGROUND
        Apple wrongly asserts “Plaintiffs delayed providing responses to these RFPs” and that it has been
“negotiating these RFPs with Plaintiffs for months with no resolution.” Mot. at 1, 2. Apple served RFP
Nos. 346–354 seeking broad discovery on all “products or planned products that measure or are intended
to measure physiological parameters . . . .” See, e.g., Ex. 2 at 11.1 On January 10, 2022, Masimo timely
objected and explained “Apple’s request encompasses all or nearly all of Plaintiffs’ portfolio of
monitoring products dating back to the early 1990s.” Ex. 3 at 8. Apple wrote to Masimo about the
requests on January 12. Ex. 4. Masimo responded two days later, explaining the requests “seek
production of nearly every document Plaintiffs ever possessed” because almost all of Masimo’s business
relates to products that are “intended to measure physiological parameters.” Ex. 8 at 1. The parties met
on January 19, and Apple maintained its position that Masimo must produce documents regarding nearly
all products Masimo has ever made or sold. Ex. 9 at 1–2.



1 Numbered exhibits are attached to Apple’s opening letter.   Lettered exhibits are attached hereto.



HIGHLY CONFIDENTIAL – ATTORNEYS EYES ONLY
                                                                                                             Exhibit 24
                                                                                                                Page 1
     Case 8:20-cv-00048-JVS-JDE Document 744-26 Filed 05/25/22 Page 3 of 6 Page ID
                                      #:52074
                                                                                                       Page 2




        On February 8, 2022, Apple first argued Masimo should provide documents regarding Masimo’s
W1 product based on these RFPs. Ex. A at 3–4. However, Apple did not narrow its requests. See id.
Masimo responded that it had already provided significant W1 discovery (including a prototype
inspection) and that it would make additional discovery from the ITC Investigation (including several
prototype inspections) formally available in this case.2 Id. at 2. The parties met and conferred on these
requests with respect to the W1 for the first time on February 18. Ex. 10 at 1.
        On February 23, 2022, Apple demanded that Masimo either identify by production number all
documents from the ITC case or reproduce all those documents in this case. Id. Apple did not include
the text of any narrowed RFP, but stated it would narrow RFP Nos. 347–354 to “unreleased versions of
any wrist-worn products and/or any other product that Plaintiffs contend competes with the Apple Watch,
including prototypes, that show, describe, or refer to the alleged trade secrets in this case—regardless of
whether the released versions of those products use the alleged trade secrets.” Id. at 2. Masimo responded
two days later and requested additional time to evaluate Apple’s new proposal. Ex. 11. Apple ignored
Masimo’s email and filed the Motion just two business days later.
        Apple thus mischaracterizes the record in asserting that Masimo “delayed providing responses to
these RFPs,” that Masimo “stalled providing responses to Apple’s offers of compromise,” that
Masimo “refused to provide any of the requested discovery,” and that Apple has been “negotiating these
RFPs with Plaintiffs for months with no resolution.” See Mot. at 1-2. As demonstrated above, none of
those allegations are true.
                                           II. ARGUMENT
A.      Masimo Already Agreed to Substantial Discovery Regarding the Masimo Watch Product
       Apple’s Motion emphasizes Masimo’s W1 Watch.3 That is a red herring because Masimo already
produced substantial discovery regarding W1, including a prototype that Apple inspected nine months
ago. Masimo also agreed to make extensive discovery on the W1 from the ITC investigation formally
available to Apple’s attorneys for use in this case. Mot. at 2. Apple does not dispute that providing such
additional discovery would satisfy its requests at issue here with respect to the W1.
       Apple merely complains about the mechanics of how the discovery will formally be provided.
Apple’s complaint is part-and-parcel of a larger dispute about how discovery between the two proceedings
should be made available. Apple rejected Masimo’s requests that Apple documents produced in each case
be formally available in both. Judge Early suggested that the parties designate categories of documents
that were produced in the ITC for cross-use in this case. Ex. B at 19:13–17, 41:7–10 (Judge Early
explaining “You don’t have to go document by document” but could instead identify “the types of

2 Masimo’s offer stands in stark contrast to Apple’s approach of objecting to all discovery on unreleased

products. The Special Master granted Masimo’s motion to compel on the topic, finding “[d]iscovery
regarding Apple’s future products and prototypes is relevant and proportional to the needs of the case.”
Special Master Order No. 1 at 3. The Special Master ordered Apple to make its prototypes available for
inspection by November 2021, but Apple did not produce any devices for inspection. Masimo tried to
resolve the issue with Apple informally for months and recently moved to enforce on March 7, 2022.
3 Apple cites nothing to support its incorrect assertion that the W1 is a “direct copy of the Apple Watch.

Mot. at 1, 5. Apple’s assertion is also irrelevant because Apple has no claims against Masimo in this case.



HIGHLY CONFIDENTIAL – ATTORNEYS EYES ONLY
                                                                                                    Exhibit 24
                                                                                                       Page 2
     Case 8:20-cv-00048-JVS-JDE Document 744-26 Filed 05/25/22 Page 4 of 6 Page ID
                                      #:52075
                                                                                                       Page 3




documents” or “particular category of documents”). Masimo took that approach here, designating W1
discovery as a “category” available in this case. Masimo took a similar approach regarding certain Apple
documents, identifying six categories of Apple documents produced here that Masimo wishes to use in
the ITC investigation. Apple challenged that approach, which led to Masimo filing its pending motion to
modify the protective order. Dkt. 569. That motion is fully briefed and will be decided any day now
without a hearing. See Dkt. 603. Judge Early’s ruling will likely provide additional guidance as to how
discovery should be shared. To the extent Judge Early requires something other than identification of
“categories,” Masimo will adopt that approach or reproduce the W1 discovery here.
B.       Apple’s Requests for Production are Overbroad and Unduly Burdensome
       While Apple’s Motion emphasizes the W1, it actually seeks far broader relief. The Motion seeks
to “compel Plaintiffs to produce and/or provide for inspection documents and things responsive to”
Apple’s RFP Nos. 346–354. Mot. at 1. Apple’s RFPs are exceedingly broad and seek discovery not
proportional to the case. For example, RFP No. 346 seeks documents sufficient to show the:
         design, development, and operation of any algorithms and/or functionality of Your
         products or planned products that measure or are intended to measure physiological
         parameters, including [numerous specifically listed parameters], including, without
         limitation, laboratory notebooks, invention disclosures, memoranda, product
         specifications, conceptual or technical drawings, schematics, diagrams, technical
         specifications, meeting minutes, presentations, and prototypes.
Ex. 2 at 11 (emphasis added). Nearly every product Masimo has released since its founding in the early
1990s measures or is intended to measure a physiological parameter. Thus, contrary to Apple’s argument,
such requests do not “largely parallel” Masimo’s RFPs regarding Apple’s prototypes (Mot. at 2) because
Masimo did not seek every document about every product Apple has ever made.
         Apple’s other requests are similarly overbroad:
        RFP Nos. 347 and 348 seek the identity of every person involved in designing and developing
         “any algorithms” for the above products and prototypes and specific start times for the design and
         development of each product, planned product, and prototype.
        RFP No. 349 seeks “all” documents and communications relating to “decisions to research design
         and/or develop” essentially all Masimo “products and/or algorithms,” including “without
         limitation, laboratory notebooks, invention disclosures, memoranda, product specifications,
         conceptual or technical drawings, schematics, diagrams, technical specifications, meeting minutes,
         presentations and prototypes.”
        RFP No. 350 seeks “all” documents or communications “referencing or relating to all efforts to
         market Your products or planned products, including prototypes” that measure numerous
         parameters.
        RFP No. 351 seeks “all” document or communications “referencing or relating to sales projections
         for Your products or planned products, including prototypes” that measure numerous parameters.
        RFP No. 352 seeks documents sufficient to identify “sales projections for Your products or
         planned products, including prototypes” that measure numerous parameters.




HIGHLY CONFIDENTIAL – ATTORNEYS EYES ONLY
                                                                                                    Exhibit 24
                                                                                                       Page 3
   Case 8:20-cv-00048-JVS-JDE Document 744-26 Filed 05/25/22 Page 5 of 6 Page ID
                                    #:52076
                                                                                                           Page 4




      RFP Nos. 353–54 seek inspection of all of Masimo’s products that measure numerous parameters,
       “including without limitation, all prior versions and prototypes.”
        Recognizing this dramatic overbreadth, Apple proposes to limit its requests. However, Apple
never provides the text of any narrowed request. Instead, Apple provides inconsistent general proposals
on how it would supposedly narrow its requests. Compare Ex. 10 at 2 (“unreleased versions of any wrist-
worn products and/or any other product that Plaintiffs contend competes with the Apple Watch, including
prototypes, that show, describe, or refer to the alleged trade secrets in this case—regardless of whether
the released versions of those products use the alleged trade secrets”) with Mot. at 1 (“prior or future wrist-
worn products and products that Plaintiffs contend compete with or will compete with Apple watch,
including prototypes”) and Mot. at 2 (“any wrist-worn prototypes”) (emphasis in original). Such
inconsistences show why Apple should have set forth the exact text of its narrowed requests so that
Masimo could fairly respond. Masimo has done so in an Appendix to prior motions, which the Special
Master relied on in addressing the narrowed requests. See, e.g., Special Master Order No. 4 at 2. Apple
should not be permitted to rely on vague general proposals or propose specific narrowing for the first time
on reply. The Special Master should deny the Motion based on the text of Apple’s overbroad requests.
       To the extent the Special Master considers Apple’s proposal, and Masimo can understand it,
Apple’s requests are still dramatically overbroad. Apple’s reference to “wrist-worn products” is vague as
to whether it includes only products that measure physiological parameters at the wrist or also wrist-
mounted products with a finger sensor. Additionally, Apple’s reference to products that “Plaintiffs
contend compete or will compete” is similarly ill-defined. Masimo has not taken a position as to
competitive products, much less future competitive products, and should not have to do so in response to
an RFP. Every product Masimo makes that measures physiological parameters, which is nearly all of
Masimo’s products, may potentially “compete” in the future if Apple markets the Apple Watch for the
hospital setting. Thus, Apple’s requests remain overbroad and unduly burdensome.
        Apple cannot maintain that these broad requests are appropriate in view of Apple’s conclusory
assertion of relevance—that it seeks documents “relevant” to “independent economic value” and
“damages.” Mot. at 1, 3. Apple’s cases on this supposed relevance are inapposite. See Yoe v. Crescent
Sock Co., 2017 WL 11479993, *4 (E.D. Tenn. Mar. 24, 2017) (granting discovery on a single named
product at issue); Dura Glob. Techs., Inc. v. Magna Donnelly, Corp., 2007 WL 4303294, *2 (E.D. Mich.
Dec. 6, 2007) (granting in-part motion for protective order against disclosure of trade secrets in
interrogatory response). Even as narrowed, Apple’s requests would still seek information on potentially
every Masimo product or prototype due to Apple’s ill-defined “compete” or “will compete” clause.
        No reason exists for Apple to assert such overbroad document requests. Masimo provided
interrogatory responses identifying products that have employed and/or incorporated Masimo trade secrets
and how those trade secrets were used and/or incorporated. See Ex. 9 at 1. Having received that
information, Apple should have served more targeted discovery requests—not broad requests on
Masimo’s entire product portfolio and prototypes. To the extent Apple sought discovery beyond the W1,
it should have identified specific products so that Masimo could fairly evaluate burden and relevance.
         Apple argues that Masimo has “refused to provide any of the requested discovery on the grounds
that [it has] already provided some discovery into [its] products.” Mot. at 4 (emphasis added). Apple
again mischaracterizes the record. As explained above, Apple insisted on seeking broad discovery on
nearly all of Masimo’s products. While maintaining its objections to the breadth of Apple’s requests,
Masimo agreed to provide more documents relating to W1. Masimo did so particularly because it saw



HIGHLY CONFIDENTIAL – ATTORNEYS EYES ONLY
                                                                                                       Exhibit 24
                                                                                                          Page 4
  Case 8:20-cv-00048-JVS-JDE Document 744-26 Filed 05/25/22 Page 6 of 6 Page ID
                                   #:52077
                                                                                                      Page 5




little burden in formally making that discovery available to Apple for use in this case by category. Apple
made its proposal to narrow only a few days before filing its motion and then moved to compel without
providing Masimo a reasonable opportunity to respond. Thus, Apple’s assertion that Masimo “refused”
to provide any discovery is simply wrong.
        Apple argues that Masimo’s “blanket objections” to RFP Nos. 346–352 as seeking “all documents”
relating to Masimo’s products are inconsistent with Masimo’s obligation to “reasonably and appropriately
interpret these requests . . . .” Mot. at 5 (quotations removed). Apple’s argument is disingenuous because
Apple itself has successfully objected to Masimo’s requests on the same basis. While both parties
originally served requests seeking “all” documents and neither party objected, Judge Early denied
discovery on several Masimo requests based on that phrase. See, e.g., Ex. C at 22:24–23:22, 27:14–28:18,
48:25–58:7. Apple then successfully argued the Special Master should also deny discovery based on the
same phrase. Special Master Order No. 2 at 7, 9 (denying discovery on requests seeking “all” documents
but granting on requests seeking “documents regarding”). Having successfully prevented discovery based
on that phrase in the past, Apple should not be permitted to now argue its requests are proper.
                                         III. CONCLUSION
       Masimo respectfully requests the Special Master deny Apple’s motion to compel Masimo to
produce and/or provide for inspection documents and things responsive to Apple’s RFP Nos. 346–354.
                                                        Sincerely,


                                                        Adam B. Powell




HIGHLY CONFIDENTIAL – ATTORNEYS EYES ONLY
                                                                                                   Exhibit 24
                                                                                                      Page 5
